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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                     CASE NO.: 23-23631-Civ-Scola

  FOREO INC.,
           Plaintiff,

  v.
  THE INDIVIDUALS, CORPORATIONS, LIMITED
  LIABILITY COMPANIES, PARTNERSHIPS, AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE A,
           Defendants.
                                                      /

   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF CERTAIN DEFENDANTS

           PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(i), Plaintiff

  FOREO INC., voluntarily dismisses the following Defendants listed on Schedule A to the

  Complaint without prejudice:

       Doe No.    Defendant Seller          Defendant Online Marketplace
                                            https://www.dhgate.com/store/about-
        169       zwgf
                                            us/19827405.html
                                            https://www.ebay.com/usr/artf.mo0?_trksid=p204767
        181       artf.mo0
                                            5.m3561.l2559
                                            https://www.ebay.com/usr/blondechick55?_trksid=p2
        189       blondechick55
                                            047675.m3561.l2559
                                            https://www.ebay.com/usr/boysgirlsnew-
        190       boygirlsnew-02
                                            02?_trksid=p2047675.m3561.l2559
                                            https://www.ebay.com/usr/businessbezo?_trksid=p204
        194       businessbezo
                                            7675.m3561.l2559
                                            https://www.ebay.com/usr/cnydeals315?_trksid=p204
        197       cnydeals315
                                            7675.m3561.l2559
                                            http://www.ebay.com/usr/curbsiderandom?_trksid=p2
        198       curbsidrandom
                                            349526.m4383.c10
                                            https://www.ebay.com/usr/cyberoutlet14?_trksid=p20
        199       cyberoutlet14
                                            47675.m3561.l2559
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    Doe No.   Defendant Seller     Defendant Online Marketplace
                                   https://www.ebay.com/usr/deals4real-
     203      deals4real-0
                                   0?_trksid=p2047675.m3561.l2559
                                   https://www.ebay.com/usr/derel_57?_trksid=p204767
     205      derel_57
                                   5.m3561.l2559
                                   https://www.ebay.com/usr/dmcove27?_trksid=p20476
     208      dmcove27
                                   75.m3561.l2559
                                   https://www.ebay.com/usr/eclipsefastpitch2?_trksid=p
     211      eclipsefastpitch2
                                   2047675.m3561.l2559
     212      eufaulagirl          https://www.ebay.com/usr/eufaulagirl
                                   https://www.ebay.com/usr/funhome914?_trksid=p204
     217      Fun-Home-914
                                   7675.m3561.l2559
                                   https://www.ebay.com/usr/gladidavi2?_trksid=p20476
     219      gladidavi2
                                   75.m3561.l2559
                                   https://www.ebay.com/usr/imud39?_trksid=p2047675.
     229      imud39
                                   m3561.l2559
                                   https://www.ebay.com/usr/inthemeadow?_trksid=p20
     230      inthemeadow
                                   47675.m3561.l2559
                                   http://www.ebay.com/usr/jedigirl10?_trksid=p234952
     232      jedigirl10
                                   6.m4383.c10
                                   https://www.ebay.com/usr/jkatang?_trksid=p2047675.
     237      jkatang
                                   m3561.l2559
                                   https://www.ebay.com/usr/jlmays84?_trksid=p204767
     238      jlmays84
                                   5.m3561.l2559
     240      kenn.johns           https://www.ebay.com/usr/kenn.johns
                                   https://www.ebay.com/usr/lovinglightcandles?_trksid
     247      lovinglightcandles
                                   =p2047675.m3561.l2559
                                   https://www.ebay.com/usr/mimocompr?_trksid=p204
     259      mimocompr
                                   7675.m3561.l2559
                                   https://www.ebay.com/usr/nannyrocks120?_trksid=p2
     261      nannyrocks120
                                   047675.m3561.l2559
                                   https://www.ebay.com/usr/oebristol?_trksid=p204767
     265      oebristol
                                   5.m3561.l2559
                                   https://www.ebay.com/usr/outleth74?_trksid=p204767
     267      outleth74
                                   5.m3561.l2559
                                   http://www.ebay.com/usr/rodcogroup?_trksid=p23495
     272      rodcogroup
                                   26.m4383.c10
                                   https://www.ebay.com/usr/shop_purple?_trksid=p204
     275      shop_purple
                                   7675.m3561.l2559



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    Doe No.   Defendant Seller        Defendant Online Marketplace
                                      https://www.ebay.com/usr/shopcrownhouse?_trksid=p
     277      shopcrownhouse
                                      2047675.m3561.l2559
                                      https://www.ebay.com/usr/sita-
     278      sita-ram (22)
                                      ram?_trksid=p2047675.m3561.l2559
                                      https://www.ebay.com/usr/storageauctionpirate?_trksi
     282      storageauctionpirate
                                      d=p2047675.m3561.l2559
                                      https://www.ebay.com/usr/sunken_treasure?_trksid=p
     284      sunken_treasure
                                      2047675.m3561.l2559
                                      https://www.ebay.com/usr/taiyuanhuiguaisaish-
     286      taiyuanhuiguaisaish-0
                                      0?_trksid=p2047675.m3561.l2559
                                      https://www.ebay.com/usr/thetajan?_trksid=p2047675
     291      thetajan
                                      .m3561.l2559
                                      https://www.ebay.com/usr/thisiskatherine?_trksid=p20
     292      thisiskatherine
                                      47675.m3561.l2559
                                      https://www.ebay.com/usr/triciatre_4?_trksid=p20476
     293      triciatre_4
                                      75.m3561.l2559
                                      https://www.ebay.com/usr/unixskin?_trksid=p204767
     294      unixskin
                                      5.m3561.l2559
     296      vallimerick             https://www.ebay.com/usr/vallimerick

     299      waggcomputer            https://www.ebay.com/usr/waggcomputer
                                      https://www.ebay.com/usr/wallscloset04?_trksid=p20
     300      wallscloset04
                                      47675.m3561.l2559
                                      https://www.ebay.com/usr/yanksfan12345?_trksid=p2
     307      yanksfan12345
                                      047675.m3561.l2559
                                      https://www.etsy.com/shop/ArzariBeauty?ref=l2-
     311      ArzariBeauty
                                      about-shopname
                                      https://www.walmart.com/seller/101290197?itemId=2
                                      891618104&pageName=item&returnUrl=%2Fip%2F
                                      Handheld-Rechargeable-Acoustic-Wave-Facial-
     326      Childlike Innocence
                                      Cleanser-Waterproof-Electric-Household-Portable-
                                      Cleaning-Used-Deep-Cleaning-Gentle-Exfoliation-
                                      Massage%2F2891618104%3FadsRedirect%3Dtrue
     327      CkeyiN Official         https://www.walmart.com/reviews/seller/101066171

     331      Good Choice             https://www.walmart.com/reviews/seller/101197036
                                      https://www.walmart.com/seller/7177?itemId=848783
                                      357&pageName=item&returnUrl=%2Fip%2FUltraso
     350      The Skin Shop
                                      nic-Silicone-Massage-Cleansing-
                                      Brush%2F848783357%3Ffrom%3D%252Fsearch

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  Dated: February 15, 2024           Respectfully submitted,
                                     /s/ Rossana Baeza
                                     Rossana Baeza (FL Bar No. 1007668)
                                     BOIES SCHILLER FLEXNER LLP
                                     100 SE 2nd Street, Suite 2800
                                     Miami, FL 33131
                                     Tel: (305) 357-8443
                                     rbaeza@bsfllp.com
                                     Counsel for Plaintiff Foreo Inc.




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